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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ALFONSO CIOFFI, MELANIE ROZMAN,                 §
 MEGAN ROZMAN, MORGAN ROZMAN,                    §
                                                 §
                                                 §
                Plaintiffs,                      §
                                                 §
 v.                                              §     CIVIL ACTION NO. 2:13-CV-00103-JRG
                                                 §
 GOOGLE LLC,                                     §
                                                 §
                Defendant.                       §

                                            ORDER

       Before the Court is Defendant Google LLC’s (“Google”) Motion for Clarification

Regarding the Court’s Opinion and Order (Dkt. No. 319) Granting-in-Part Google’s Motion for

New Trial and Setting a Bench Trial (“Motion”). (Dkt. No. 320.) Having considered the Motion

and the parties’ briefing, the Court is of the opinion that the motion should be, and hereby is,

DENIED. The Court did not, by its previous order (Dkt. No. 320), signal more than the Court’s

intention to consider the previously developed record. The Court does not intend to conduct a new

evidentiary hearing in this regard. The Court will adjudicate Google’s invalidity defense under

35 U.S.C. § 251 based on the entire record previously developed at trial and taking into account

Google and Plaintiffs Alfonso Cioffi, Melanie Rozman, Megan Rozman, Morgan Rozman’s

respective proposed Findings of Fact and Conclusions of Law (Dkt. Nos. 323, 324).

      So Ordered this
      Oct 22, 2018
